                           Case 3:22-mb-04333-CDB Document 2 Filed 09/26/22 Page 1 of 5                          I
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r           •
    Search w'a,rnnt                                                                                          _RECeNEO              _COPY
                                         UNITED STATES DISTRICT COURT                                                  SEP   ·a8 2022
                                                                    for the
                                                              District of Arizona
                                                                                                            CLt'7s\~,~~~~1~i8~iRT
                            In the Matter of the Search of                                                  BY                         o&PUTV


           A dark blue Motorola cellular telephone with a clear                           Case No. 22-4333 MB
            pouch affixed to the back containing multi-colored
          dots and "Becca" written in script, currently located at
               the FBI Flagstaff Resident Agency in Arizona

                                                 SEARCH AND SEIZURE WARRANT

    To:         Any authorized law enforcement officer

            An application by a federal law enforcement officer or an attorney for the government requests the search of the
    following person or property located in the District of Arizona (identify the person or describe the property to be searched
    and give its location):

                                                   As further described in Attachment A.

            The person or property to be searched, described above, is believed to conceal (identify the person or describe the
    property to be seized):
                                                   As set forth in Attachment B.


            I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
    property.

    YOU ARE COMMANDED to execute this warrant on or before _ _ _S_e~p_t_e_m_b_e_r_1_6_,_2_0_2_2_________
                                                                                            (not to exceed 14 days)
                0 in the daytime 6:00 a.m. to 10 p.m.
                IZl at any time in the day or night as I find reasonable cause has been established.

            Unless delayed notice is authorized below, yo u must give a copy of the warrant and a receipt for the property taken to
    the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
    property was taken.

            The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
    inventory as required by law and promptly return thi s warrant and inventory to United States Magistrate Judge.


                     (name)
             D I find that immediate notification may have an adverse result li sted in 18 U .S.C. § 2705 (except for delay of trial),
    and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
    seized (check the appropriate box)        □ for days (not to exceed 30)
                                              □ until, the facts justifying, the later specific date of _ _ _ _ _ _ _ _ __

    Date and time issued : _ __ _ _ __ _ _ _ __ _                           Ca mille D• Bibles            DigitallysignedbyCamilleD. Bibles
                                                                                                          Date:2022.09.0215:19:19 -07'00'
                                                                                                  Judge 's signature

    City and State: _ _ _ _ _ _ _ _ _ _ _ _ _ __                             Honorable Camille D. Bibles, U.S. Magistrate Judge
                                                                                             Printed name and title
                       Case 3:22-mb-04333-CDB Document 2 Filed 09/26/22 Page 2 of 5
AO 3 (Rev. 01/09 Search and Seizure Warrant Pa c 2

                                                                     RETURN
Case     o. :                                        Date and Time Warrant Executed:        Copy of warrant and inventory left with :




Inventory Made in the Presence of:




Inventory of the property taken and name of any person(s) seized :




                                       ~




                                                                CERTIFICATION
I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:           q/ /~/UL


                                                                               Printed name and title
            Case 3:22-mb-04333-CDB Document 2 Filed 09/26/22 Page 3 of 5
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                                       ATTACHMENT A
                                   Property to be Searched
          A dark blue Motorola cellular telephone with a clear pouch affixed to the back
    containing multi-colored dots and "Becca" written in script.
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                                             ATTACHMENTB
                                       Particular Things to be Seized


                 The following items of evidence, contraband, fruits , and instrumentalities used in

        and relating to violations of 21 U.S.C. §§ 84l(a)(l) and (b)(l)(C), Possession with Intent

        to Distribute Methamphetamine:

        1.       Device information to include but not limited to unique identifying information
                 about the phone, subscriber information, and information in relation to the make,
                 model, and features of the phone.
        2.       Information about the applications installed on the phone, the usage of the
                 applications, and the information collected, sent, or received by the applications.
        3.       Contact information stored on the phone.
        4.       Call log records stored on the phone.
        5.       SMS/MMS sent and received messages stored on the phone.
        6.       User account information maintained within the physical storage of the phone to
                 include but not limited to the user accounts utilized by the phone and the
                 applications installed on the phone.
        7.       Wireless network information stored on the phone.
        8.       Data files maintained on the phone to include but not limited to audio, video,
                 images, and databases.
        9.       Location information of the cellular device, data files, or applications maintained
                 on the phone.


             In searching this data, the computer-based personnel may examine and copy all of the

        data contained in the cellular telephone or digital devices to view their precise contents and

        determine whether the data falls within the items to be seized. In addition, the computer
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                personnel may search for and attempt to recover deleted, hidden, or encrypted data to

                determine whether the data falls within the list of items to be seized.

                       This warrant authorizes a review of electronic storage media and electronically

                stored information seized or copied pursuant to this warrant in order to locate evidence,

                fruits, and instrumentalities described in this warrant. The review of this electronic data

                may be conducted by any government personnel assisting in the investigation, who may

                include, in addition to law enforcement officers and agents, attorneys for the government,

                attorney support staff, and technical experts. Pursuant to this warrant, the FBI may deliver

                a complete copy of the seized or copied electronic data to the custody and control of

                attorneys for the government and their support staff for their independent review.
